Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 1 of 16 PageID: 1



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

------------------------------------------------------------x
BYRON BREEZE, JR.,
on behalf of himself and all others
similarly situated,

                 Plaintiff,                                     CASE NO.: 1:19-cv-180

                 v.

WRDH MT. LAUREL LLC,
a New Jersey limited liability company,

                  Defendant.
------------------------------------------------------------x

                                     CLASS ACTION COMPLAINT

        Plaintiff, BYRON BREEZE, JR. (hereinafter “Plaintiff”), on behalf of himself and all

others similarly situated, sues Defendant, WRDH MT. LAUREL LLC (hereinafter “Defendant”),

a New Jersey limited liability company, for injunctive relief, attorneys’ fees, and litigation costs,

including but not limited to disbursements, court expenses, and other fees, pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA Accessibility

Guidelines, 28 C.F.R. Part 36 (hereinafter “ADAAG”), and for injunctive relief and damages,

pursuant to the New Jersey Law Against Discrimination (NJLAD), and for class-wide relief

pursuant to Rule 23 of the Federal Rules of Civil Procedure, and alleges:

                                              INTRODUCTION

    1. Defendant owns and/or operates that certain hotel known as The Hotel ML located at 915

        Route 73, Mt. Laurel, New Jersey 08054 (the “Hotel”). Defendant owns and/or controls

        and Hotel’s website, located at www.wyndhamhotels.com/days-inn/atlantic-city-new-

        jersey/days-inn-atlantic-city-oceanfront-boardwalk/overview (the “Website”). The Hotel



                                                         1
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 2 of 16 PageID: 2



        takes reservations through the Website and provides information regarding available

        guestrooms and Hotel amenities.

    2. As of March 15, 2012, Defendant was required to ensure that all of its reservation

        systems, including its online reservation systems (a) identify and describe disabled

        accessible features of the Hotel in detail; (b) identify and describe accessible features of

        ADA compliant guest rooms in detail; (c) permit disabled individuals to independently

        assess whether the Hotel and its available guestrooms meet their individual accessibility

        needs (by describing accessible and inaccessible features); and (d) allow reservations to

        be taken for accessible guestrooms in the same manner as for non-accessible

        guestrooms.1 Defendant has not complied. This lawsuit follows.

                                     JURISDICTION AND VENUE

    3. This Court has original subject matter jurisdiction over this action pursuant to 28 U.S.C.,

        §§1331, 1343, as Plaintiff’s claims arise under 42 U.S.C. §12181. et seq., based upon the

        enumerated violations of Title III of the Americans with Disabilities Act (see also, 28

        U.S.C. §§ 2201 and 2202).

    4. This Court has personal jurisdiction over Defendant in this action. Defendant transacts

        substantial business in this District through its Hotel, which is located in this District.

    5. Venue lies in this District pursuant to 28 U.S.C. §1391(a)(2) and (b), because a

        substantial part of the events or omissions giving rise to the claims here at issue occurred

        in this District; specifically, Defendant and the Hotel are located this District.

    6. Pursuant to 28 U.S.C.S. §1367(a), this Court has supplemental jurisdiction over

        Plaintiff’s claims arising under New Jersey State law.

1
 This is a non-exclusive list of requirements imposed by 28 C.F.R. §36.302(e)(l). These requirements apply not
only to the Website, but also to every online reservation system on which reservations can be made to stay at the
Hotel, including orbitz.com, travelocity.com, hotels.com, and others.

                                                       2
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 3 of 16 PageID: 3



                                          PARTIES

  7. Plaintiff, BYRON BREEZE, JR., was born without legs and without complete hands, and

     uses a wheelchair for mobility. Plaintiff thus has a “qualified disability” as that term is

     defined by the ADA.

  8. At all times material hereto, Plaintiff was and is over the age of 18 years, sui juris, and

     resides in the District of Columbia. Plaintiff has a real and continuing need for mandated

     accessibility information within online hotel reservation platforms in this District.

  9. Defendant is a NEW JERSEY LIMITED LIABILITY COMPANY conducting business

     in the State of New Jersey and is the owner and/or operator of the Hotel and has control

     over the content of the Website.

                                  CLASS ALLEGATIONS

  10. Plaintiff brings this class action on his own behalf, and as a class action, pursuant to

     Federal Rule of Civil Procedure 23, on behalf of a class of people defined as follows:

             All disabled individuals who have been unable to obtain required
             accessibility information online, or to independently secure an
             online reservation for an accessible guestroom, by a failure to
             comply with the ADA and ADAAG upon any online reservation
             platform on which the Hotel is advertised, including the Website.

  11. Excluded from the Class is any person who is an executive, officer, employee, and/or

     director of the Defendant.

  12. The members of the Class are so numerous that joinder of all Class members is not

     practical. The precise size of the Class will be determined through discovery.

  13. Plaintiff’s claims are typical of those of the entire Class. Plaintiff, along with every

     member of the Class, has suffered civil right violations because of Defendant’s




                                               3
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 4 of 16 PageID: 4



     continuing failure to comply with the ADA and ADAAG on its Website and/or other

     online reservation platforms.

  14. Plaintiff can and will adequately protect the interests of all members of the Class and has

     retained competent counsel experienced in both ADA and class action litigation. Plaintiff

     has no interest that is contrary to the interest of the Class members in this case.

  15. A class action is far superior to any other possible method for adjudicating this

     controversy. Each member of the Class is entitled to injunctive relief, as well as possible

     statutory damages under New Jersey law. The expense and burden associated with

     individual litigation of each claim held by each member of the Class would be

     extraordinarily inefficient for Defendant, members of the Class, and the courts.

  16. Common questions of law and fact prevail with respect to all members of the Class and

     predominate over questions applicable solely to individual Class members. Among such

     common questions of law and fact is whether Defendant has violated Federal and New

     Jersey State statutory obligations by failing to comply with the ADA, ADAAG, and

     NJLAD, such that all physically disabled persons are afforded fair and equal access to

     any hotel owned or operated by Defendant, and their online reservation systems.

  17. Plaintiff knows of no special or unique difficulties that would be encountered in the

     management of this litigation that might preclude its maintenance as a class action.

  18. The names and addresses of disabled individuals who have encountered non-compliance

     as set forth herein, and who have been excluded from full and equal access to required

     accessibility information regarding the Hotel is obtainable through traditional channels

     used to identify members of any class; notice of this case, informing members of the

     Class that this case exists and that he/she may be a member of the Class, can be delivered



                                               4
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 5 of 16 PageID: 5



     by U.S. or electronic mail, using techniques and in a form of notice similar to those

     customarily used in class action litigation, and can additionally be advertised by

     television, internet, radio, and other means of transmission that are likely to reach

     members of the Class.

                              COUNT I
          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

  19. On July 26, 1990, Congress enacted the ADA, explaining that its purpose was to provide

     a clear and comprehensive national mandate for the elimination of discrimination against

     individuals with disabilities and to provide clear, strong, consistent, enforceable standards

     addressing such discrimination, invoking the sweep of congressional authority in order to

     address the major areas of discrimination faced day-to-day by people with disabilities to

     ensure that the Federal government plays a central role in enforcing the standards set by

     the ADA. 42 U.S.C. § 12101(b)(l) - (4).

  20. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

     Department of Justice, Office of the Attorney General (“DOJ”), published revised

     regulations for Title III of the Americans With Disabilities Act of 1990. Public

     accommodations, including places of lodging were required to conform to these revised

     regulations on or before March 15, 2012.

  21. On March 15, 2012, the revised regulations implementing Title III of the ADA took

     effect, imposing significant new obligations on inns, motels, hotels and other “places of

     lodging.” 28 C.F.R. §36.302(e)(l) provides that:

            Reservations made by places of lodging. A public accommodation
            that owns, leases (or leases to), or operates a place of lodging shall,
            with respect to reservations made by any means, including by
            telephone, in-person, or through a third party –



                                               5
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 6 of 16 PageID: 6



                    (i)     Modify its policies, practices, or procedures to
                            ensure that individuals with disabilities can make
                            reservations for accessible guest rooms during the
                            same hours and in the same manner as individuals
                            who do not need accessible rooms;

                    (ii)    Identify and describe accessible features in the
                            hotels and guest rooms offered through its
                            reservations service in enough detail to reasonably
                            permit individuals with disabilities to assess
                            independently whether a given hotel or guest room
                            meets his or her accessibility needs;

                    (iii)   Ensure that accessible guest rooms are held for use
                            by individuals with disabilities until all other guest
                            rooms of that type have been rented and the
                            accessible room requested is the only remaining
                            room of that type;

                    (iv)    Reserve, upon request, accessible guest rooms or
                            specific types of guest rooms and ensure that the
                            guest rooms requested are blocked and removed
                            from all reservations systems; and

                    (v)     Guarantee that the specific accessible guest room
                            reserved through its reservations service is held for
                            the reserving customer, regardless of whether a
                            specific room is held in response to reservations
                            made by others.

  22. In promulgating the new requirements, the Department of Justice made clear that

     individuals with disabilities should be able to reserve hotel rooms with the same

     efficiency, immediacy, and convenience as those who do not need accessible guestrooms.

     28 C.F.R. Part 36, Appx. A.

  23. Hotels (and motels) are required to identify and describe all accessible features in the

     hotel and guestrooms; “[t]his requirement is essential to ensure individuals with

     disabilities receive information they need to benefit from the services offered by the place

     of lodging.” 28 C.F.R. Part 36, Appx. A.          Moreover, “a public accommodation’s


                                              6
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 7 of 16 PageID: 7



     designation of a guestroom as “accessible” does not ensure necessarily that the room

     complies with all of the 1991 Standards.” 28 C.F.R. Part 36, Appx. A. Labeling a

     guestroom as “accessible” or “ADA” is not sufficient.

  24. In addition,

             hotel rooms that are in full compliance with current standards may
             differ, and individuals with disabilities must be able to ascertain
             which features – in new and existing facilities – are included in the
             hotel’s accessible guest rooms. For example, under certain
             circumstances, an accessible hotel bathroom may meet
             accessibility requirements with either a bathtub or a roll in shower.
             The presence or absence of particular accessible features such as
             these may mean the difference between a room that is usable by a
             particular person with a disability and one that is not.

     28 C.F.R. Part 36, Appx. A. Accordingly, Defendant is required to set forth specific

     accessible features and not merely recite that a guestroom is “accessible” or “ADA” or

     list accessibility features that may (or may not) be offered within a particular room.

  25. For hotels in buildings constructed after the effective date of the 1991 Standards, it is

     sufficient to advise that the hotel itself is fully ADA compliant, and for each accessible

     guestroom, to specify the room type, the type of accessible bathing facility in the room,

     and the communications features in the room. 28 C.F.R. Part 36, Appx. A.

  26. However, for hotels in buildings constructed prior to the 1991 Standards, information

     about the hotel should include, at a minimum

             information about accessible entrances to the hotel, the path of
             travel to guest check-in and other essential services, and the
             accessible route to the accessible room or rooms. In addition to the
             room information described above, these hotels should provide
             information about important features that do not comply with the
             1991 Standards. For example, if the door to the “accessible” room
             or bathroom is narrower than required, this information should be
             included (e.g., door to guest room measures 30 inches clear).
             [emphasis added].



                                               7
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 8 of 16 PageID: 8



         28 C.F.R. Part 36, Appx. A.

    27. The Hotel is a place of public accommodation that owns and/or leases and operates a

         place of lodging pursuant to the ADA.

    28. The Website (and all other online reservation platforms used by the Hotel) allows

         reservations for the Hotel to be taken online. The Defendant has control over information

         provided to the public about the Hotel through the Website and/or other online platforms.

    29. Prior to filing this lawsuit, Plaintiff visited the Website to learn about accessible features

         of the Hotel, and to independently assess whether the Hotel is accessible to him, and

         whether he could independently reserve an accessible room at the Hotel, in the same

         manner as those seeking to reserve non-accessible rooms. Upon his respective visit to the

         website, Plaintiff discovered that the Website does not comply with the ADA and

         ADAAG.

    30. The Website homepage says nothing about the accessibility of the Hotel, the rooms or the

         Hotel amenities. A page entitled rooms lists available guestrooms types but does not

         include any accessible options. The book now functions do not include an option to

         search for ADA accessible rooms. It is possible to view a more detailed description of

         available rooms on the booking page; however, none of these more detailed descriptions

         includes anything about accessibility. There is no ability to book an accessible room at

         any point prior to payment, and there is no filter on the search page with options for

         accessible rooms or features.2




2
  Each of these pages of the Website (as they existed at the time of filing) has been saved, and while Plaintiff
encourages and demands that Defendant come into compliance with the ADA and ADAAG, Defendant is likewise
cautioned against deleting or destroying any version of the Website as it existed on the date of this filing, inasmuch
as the same may constitute evidence in this lawsuit. All changes and edits should be carefully saved, catalogued, and
produced.

                                                          8
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 9 of 16 PageID: 9



  31. The Website also has no accessibility information concerning common areas and

     amenities. A page entitled Amenities, describes services and amenities at the Hotel, but

     does not include any information regarding accessible services or amenities. Likewise,

     the Website does not indicate that the Hotel is in full compliance with all 1991 Standards,

     or, in the alternative:

         a. Whether the public entrance to the Hotel complies with the 1991 Standards, and if

             not, the ways in which it does not comply, so that Plaintiff and the Class can

             evaluate whether it is accessible to them;

         b. Whether the registration desk at the Hotel complies with the 1991 Standards, and

             if not, the ways in which it does not comply, so that Plaintiff and the Class can

             evaluate whether it is accessible to them;

         c. Whether any restaurant, lounge or other food and beverage service areas at the

             Hotel comply with the 1991 Standards, and if not, the ways in which they do not

             comply, so that Plaintiff and the Class can evaluate whether they are accessible to

             them;

         d. Whether any parking facilities, lots, or other parking accommodations at the Hotel

             comply with the 1991 Standards, and if not, the ways in which they do not

             comply, so that Plaintiff and the Class can evaluate whether they are accessible to

             them;

         e. Whether any pool areas at the Hotel comply with the 1991 Standards, and if not,

             the ways in which they do not comply, so that Plaintiff and the Class can evaluate

             whether they are accessible to them;




                                               9
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 10 of 16 PageID: 10



         f. Whether any fitness and recreation areas at the Hotel comply with the 1991

            Standards, and if not, the ways in which they do not comply, so that Plaintiff and

            the Class can evaluate whether they are accessible to them;

         g. Whether the route from the public entrance to the registration desk is accessible in

            compliance with the 1991 Standards, and if not, the ways in which it does not

            comply, so that Plaintiff and the Class can evaluate whether it is accessible to

            them;

         h. Whether the route from the registration desk to the accessible rooms is accessible

            in compliance with the 1991 Standards, and if not, the ways in which it does not

            comply, so that Plaintiff and the Class can evaluate whether it is accessible to

            them;

         i. Whether the route from the public entrance to the restaurant, lounge or beverage

            or food service areas is accessible in compliance with the 1991 Standards, and if

            not, the ways in which it does not comply, so that Plaintiff and the Class can

            evaluate whether it is accessible to them;

         j. Whether the route from the accessible guestrooms to the restaurant, lounge or

            beverage or food service areas is accessible in compliance with the 1991

            Standards, and if not, the ways in which it does not comply, so that Plaintiff and

            the Class can evaluate whether it is accessible to them;

         k. Whether the route from the public entrance to the pool area is accessible in

            compliance with the 1991 Standards, and if not, the ways in which it does not

            comply, so that Plaintiff and the Class can evaluate whether it is accessible to

            them;



                                             10
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 11 of 16 PageID: 11



          l. Whether the route from the accessible guestrooms to pool area is accessible in

              compliance with the 1991 Standards, and if not, the ways in which it does not

              comply, so that Plaintiff and the Class can evaluate whether it is accessible to

              them;

          m. Whether the route from the public entrance to the fitness and recreation areas is

              accessible in compliance with the 1991 Standards, and if not, the ways in which it

              does not comply, so that Plaintiff and the Class can evaluate whether it is

              accessible to them; and

          n. Whether the route from the accessible guestrooms to the fitness and recreation

              areas is accessible in compliance with the 1991 Standards, and if not, the ways in

              which it does not comply, so that Plaintiff and the Class can evaluate whether it is

              accessible to them.

   32. This is not intended to be an exclusive list, and Plaintiff, on behalf of himself and the

      class, brings this action to remediate all violations of the ADAAG found to exist upon the

      Website, and upon all online reservation platforms used by the Hotel.

   33. In addition to the list above, upon information and belief, Defendant may not effectively

      (i) ensure that accessible guest rooms are held for use by individuals with disabilities

      until all other guest rooms of that type have been rented and the accessible room

      requested is the only remaining room of that type; (ii) reserve, upon request, accessible

      guest rooms or specific types of guest rooms and ensure that the guest rooms requested

      are blocked and removed from all reservations systems; or (iii) guarantee that the specific

      accessible guest room reserved through its reservations service is held for the reserving




                                               11
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 12 of 16 PageID: 12



      customer, regardless of whether a specific room is held in response to reservations made

      by others. Discovery is required on these issues.

   34. Plaintiff will visit the Website again, and members of the Class will visit the Website and

      online reservation platforms controlled by Defendant again, upon the Defendant’s

      compliance with the laws and regulations specified herein, in order learn about the

      accessible (and inaccessible) features, learn about the accessible (and inaccessible)

      features of guestrooms, assess the extent to which the hotels meet each of their specific

      accessibility needs, and determine whether they can reserve an accessible guestroom.

   35. Defendant has discriminated against Plaintiff and all other mobility-impaired individuals,

      including the Class, by denying full and equal access to and enjoyment of the goods,

      services, facilities, privileges, advantages and accommodations offered on the Websites,

      due to the continuing ADA and ADAAG violations as set forth above. Defendant has

      had eight (8) years to bring the Website (and other online reservation platforms, as

      applicable) into compliance with the ADAAG revisions, but has failed or refused to do

      so.

   36. Modifying the Website (and other online reservation platforms, as applicable) to comply

      with the ADA and ADAAG is accomplishable without undue burden or expense and is

      readily achievable. But in any event, upon information and belief, the Website has been

      altered, updated, and edited, after 2010, but not in a manner compliant with 2010

      ADAAG standards.

   37. Defendant will continue to discriminate against Plaintiff and all other disabled

      individuals who access the Website (and other online reservation platforms, as




                                               12
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 13 of 16 PageID: 13



      applicable) unless and until Defendant modifies the Website (and other online reservation

      platforms, as applicable) to set forth all required information, as set forth above.

   38. Plaintiff and the Class are without an adequate remedy at law and are suffering

      irreparable harm, and Plaintiff reasonably anticipates that he and the Class will continue

      to suffer this harm unless and until Defendant is required to correct the ADA violations

      found upon the Websites (and other online reservation platforms, as applicable), and to

      maintain the Websites (and other online reservation platforms, as applicable), inclusive of

      the online reservation system, and accompanying policies and procedures, in a manner

      that is consistent with and compliant with ADA and ADAAG requirements.

   39. Pursuant to 42 U.S.C. §12188(a) this Court has authority to grant injunctive relief to

      Plaintiff, and the Class, including an Order that compels Defendant to enact policies that

      are consistent with the ADA and its remedial purposes, and to alter and maintain its

      Website (and other online reservation platforms, as applicable), and all online reservation

      systems, in accordance with the requirements set forth within the 2010 Standards, 28

      C.F.R. §36.302(e)(l).

                              COUNT II
      VIOLATIONS OF THE NEW JERSEY LAW AGAINST DISCRIMINATION

   40. Plaintiff re-avers the allegations set forth above as though fully set forth herein.

   41. The New Jersey Law Against Discrimination provides:

              It shall be an unlawful employment practice, or, as the case may
              be, an unlawful discrimination: for any owner, lessee, proprietor,
              manager, superintendent, agent, or employee of any place of public
              accommodation directly or indirectly to refuse, withhold from or
              deny to any person any of the accommodations, advantages,
              facilities or privileges thereof, or directly or indirectly to publish,
              circulate, issue, display, post or mail any written or printed
              communication, notice, or advertisement to the effect that any of
              the accommodations, advantages, facilities, or privileges of any


                                                 13
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 14 of 16 PageID: 14



                 such place will be refused, withheld from, or denied to any person
                 on account of the race, creed , color, national origin, ancestry,
                 marital status, civil union status, domestic partnership status,
                 pregnancy or breastfeeding, sex, gender identity or expression,
                 affectional or sexual orientation, disability . . . 3

      42. The Website (and other online reservation platforms, as applicable) is a gateway to, and a

          part of, the Hotel, which is a place of public accommodation as defined by the New

          Jersey Law Against Discrimination.

      43. Plaintiff and the Class have visited the Website (and other online reservation platforms,

          as applicable), and encountered barriers made illegal by the ADA and ADAAG, and thus

          by the New Jersey Law Against Discrimination.

      44. By maintaining barriers that discriminate against people with disabilities through the

          actions described above, Defendant has, directly or indirectly, refused, withheld, and/or

          denied to Plaintiff and the Class, because of disability, accommodations, advantages,

          facilities or privileges of the Hotel. The failure by Defendant to act to identify and

          remove these barriers, which have been illegal since March 15, 2012, can be construed as

          “negligence per se.”

      45. Plaintiff and the Class have been damaged and will continue to be damaged by this

          discrimination as more fully set forth above and, in addition to injunctive relief, seek

          judgment pursuant to N.J.S.A. § 10:5-12, and all relief provided for thereunder.

      WHEREFORE, Plaintiff, BYRON BREEZE, JR, respectfully requests that this Court enter

judgment in his favor, and against Defendant, as follows:

              a. Certify a Class, as that term is defined hereinabove;




3
    N.J.S.A. § 10:5-12 (f)(1).

                                                  14
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 15 of 16 PageID: 15



         b. A declaration that the Website (and other online reservation platforms, as

            applicable) is owned, leased, operated, and/or controlled by Defendant is in

            violation of the ADA, and/or NJLAD;

         c. Temporary and permanent injunctive relief enjoining Defendant from continuing

            its discriminatory practices, including the requirement that Defendant

            permanently implement policies, practices, procedures, including online content,

            consistent with the mandates of the 2010 ADAAG Standards on its Website (and

            other online reservation platforms, as applicable);

         d. Temporary and permanent injunctive relief enjoining Defendant from maintaining

            or controlling content on any website through which it is offering online

            reservations for any hotel that it owns or operates, unless such website and online

            reservation system fully comply with 28 C.F.R. §36.302(e)(l);

         e. An award of reasonable attorneys’ fees, costs, disbursements and other expenses

            associated with this action, in favor of Plaintiff and the Class;

         f. An award of compensatory damages deemed just and appropriate pursuant to

            NJLAD, to Plaintiff and the Class; and




                                              15
Case 1:19-cv-00180-RBK-KMW Document 1 Filed 01/07/19 Page 16 of 16 PageID: 16



         g. Such other and further relief as this Court deems just, necessary and appropriate

             under the circumstances.

      DATED this 7th day of January, 2019.

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                                             16
